     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 1 of 40




             UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC., et al.,

            Plaintiffs,
V.                                             CASE NO. 4:18-CV-251-MW/CAS
KENNETH W. DETZNER, in his official
capacity as the Florida Secretary
of State,

           Defendant.
__________________________/

               ORDER GRANTING PLAINTIFFS’ MOTION
                  FOR PRELIMINARY INJUNCTION

      Florida is home to 12 public universities and 28 state and community

colleges. ECF No. 24, Ex. I, at 7 (“Rodden Report”). Four of the 10 largest public

universities in the United States are in Florida. Id. For example, the

University of Florida (“UF”) in Gainesville—revered by many as Florida’s first

and finest institution of higher education—enrolls more than 52,000 students,

9,000 of whom live on the campus’s three centrally located square miles. Id. at

11, 18–19. Nearly 68 percent of Gainesville’s voting-age population is affiliated

with UF and nearby Santa Fe College. Id. at 9; ECF No. 24, Ex. H, at 2.

      Across Florida, more than 1.1 million young men and women were

enrolled in institutions of higher learning in 2016; nearly 830,000 were

enrolled at public colleges or universities. ECF No. 24, Ex. P, at 6 (“Levine, et
                                        1
      Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 2 of 40



al. Report”). Almost 107,000 staff members worked at these public institutions.

Id. Put another way, the number of people who live and work on Florida’s

public college and university campuses is greater than the population of

Jacksonville, Florida—or the populations of North Dakota, South Dakota,

Alaska, Vermont, Wyoming, and the District of Columbia.

        In November 2016, 2.4 million men and women under the age of 30 were

registered to vote in Florida. ECF No. 24, Ex. B., at 7 (“Smith Report”). They

comprised more than one quarter of the 9.5 million Floridians who voted that

election. Id. at 6. Many of them chose to vote early, a popular form of voting in

Florida. 1 In 2012, roughly 2.4 million Floridians of all ages—or 28.1 percent of

the electorate—voted early. Smith Rep., at 5. That number rose in 2016 to more

than 3.9 million Floridians of all ages—or approximately 40.3 percent of all

those who voted—who cast their ballots at an early voting site. Id. at 4.

       Early voting is especially popular among college students. They vote

early at a higher rate in Florida than the national average. In the 2012 election,

16 percent of college students across the country voted early; that number

increased to 18 percent in 2016. Levine, et al. Rep., at 14. In Florida, 29 percent

of college students voted early in 2012. Id. In 2016, 43 percent of Florida’s

college students voted early. Id.


1 This case is about early voting. This Court uses the term “early voting” or “vote early” as
synonyms for “in-person early voting.” This is different than absentee or mail-in voting. It is also
different than voting on Election Day; on-campus polling places are permissible on Election Day.
                                                 2
      Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 3 of 40



       Despite early voting’s popularity among Florida’s college students, no

early voting site can exist on a college or university campus. As a direct result

of Secretary of State Kenneth Detzner’s (“Defendant”) Opinion DE 14-01 (the

“Opinion”), ECF No. 24, Ex. A, 2 issued through the Division of Elections, none

of the nearly 830,000 students enrolled in a public university or college can

vote early on campus. And none of the 68 percent of Gainesville residents

affiliated with UF or Santa Fe College can vote early where they work, study,

or, for thousands of students, live.

       This Court has considered, after hearing on July 16, 2018, Plaintiffs’

motion for preliminary injunction. ECF No. 22. The issue is whether the

Secretary of State’s Opinion that categorically bars early voting on any

university or college campus violates the First, Fourteenth, and Twenty-Sixth

Amendments to the U.S. Constitution. It does. The motion is GRANTED.

                                               I

       More lines, more problems. In November 2012, many Florida voters

“found themselves waiting in line for hours to cast a ballot both during the

early voting period and on Election Day,” according to Defendant’s post-

election report intended to improve the state’s election administration. ECF



2 This Court refers to the Opinion throughout this Order as Defendant’s Opinion even though
Maria I. Matthews, the Director of the Division of Elections, signed the Opinion. The Division is
part of the Florida Department of State, the body through which the Secretary of State issues
“formal opinions on the interpretation of election laws.” ECF No. 33, at ¶ 14.
                                               3
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 4 of 40



No. 24, Ex. C, at 4. Supervisors of elections attributed these “excessive and

unreasonable waiting times” to several factors, including “inadequate voting

locations.” Id. Under Florida law, supervisors of elections have discretion to

designate certain eligible locations as early voting sites. Fla. Stat. §

101.657(1)(a) (“The supervisor may also designate . . .”) (emphasis added). In

2012, however, supervisors of elections could only designate their offices, city

halls, or public libraries as early voting sites. ECF No. 24, Ex. C, at 7–8.

      Defendant recommended that Florida’s legislature amend its early

voting statute to expand what qualifies as an eligible early voting site. Id. at

7. “If given the flexibility to choose more and larger sites, supervisors could

more effectively select early voting locations that meet the geographic needs of

their voters and reduce the wait times at these locations,” Defendant urged.

Id. at 5.

      The legislature obliged. In May 2013, the Governor signed into law a

provision (the “Early Voting Statute”) that permits supervisors of elections to

“designate any city hall, permanent public library facility, fairground, civic

center, courthouse, county commission building, stadium, convention center,

government-owned senior center, or government-owned community center as

early voting sites.” Fla. Stat. § 101.657(1)(a). The Early Vote Statute did not

include language from a proposed amendment that would have added “any

. . . Florida College System institution facility” as an early voting site. ECF No.

                                        4
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 5 of 40



24, Ex. D. Nor did the legislature pass other proposed bills that, among other

things, explicitly identified universities and colleges as eligible early voting

sites. See ECF No. 24, Exs. K, L, & M.

      In January 2014, Defendant, through the Division of Elections, issued

the Opinion in response to Gainesville’s City Attorney’s question whether the

J. Wayne Reitz Union, located on UF’s campus, fit within the “government-

owned community center” or “convention center” language in the Early Voting

Statute. ECF No. 61, Ex. 1. A group of UF students had approached the

Gainesville City Commission about placing an early voting site on campus,

prompting the City Attorney to seek clarification from Defendant. Id.

      Defendant’s answer was a resounding “no.” He declared that “[t]he Reitz

Union is a structure designed for, and affiliated with, a specific educational

institution. It is part of the University of Florida.” ECF No. 24, Ex. A, at 3. He

then interpreted the Early Voting Statute to exclude as “convention center”

and “government-owned community center” the Reitz Union and “any other

college- or university-related facilities” as an early voting site. Id. Defendant

reasoned that because the Florida legislature declined to include explicit

language identifying colleges and universities as early voting sites, “the terms

‘convention center’ and ‘government-owned community center’ cannot be

construed so broadly” as to include college or university facilities such as the



                                         5
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 6 of 40



Reitz Union. Id. Besides citing the unadopted amendment to the Early Voting

Statute and other unadopted bills, Defendant offered no other rationale.

      Plaintiffs are six university students and two organizations, the League

of Women Voters and the Andrew Goodman Foundation. 3 Megan Newsome is

a 22-year-old recent graduate of the University of Florida who serves as a

Puffin Democracy Fellow of the Andrew Goodman Foundation in addition to

her on-campus research job. ECF No. 30, at ¶¶ 2–3. Ms. Newsome has voted

early in past elections. Id. at ¶ 7. Amol Jethwani is a 21-year-old University of

Florida student who has voted early in past elections and has experience

arranging rides for fellow students to voting sites in Gainesville. ECF No. 29,

at ¶¶ 3, 6–9, 12. Mary “Jamie” Roy is a 20-year-old University of Florida

student who serves as a Student Ambassador to the Andrew Goodman

Foundation and has voted both early and on Election Day in past elections.

ECF No. 32, at ¶¶ 3, 5. Dillon Boatner is a 21-year-old University of Florida

student who is a student member of the League of Women Voters. ECF No. 26,

at ¶ 3. Alexander Adams is a 19-year-old student at the Florida State

University; he has never voted before and intends to vote for the first time in

the 2018 election. ECF No. 25, at ¶¶ 3, 8. Anja Rmus is a 19-year-old University




3Plaintiffs have standing. This Court addresses Defendant’s standing arguments in its Order
Denying Defendant’s Motion to Dismiss. ECF No. 64, at 12–14.
                                            6
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 7 of 40



of Florida student who has voted both early and on Election Day in past

elections. ECF No. 31, at ¶¶ 3, 5.

      Plaintiffs Newsome, Jethwani, Roy, and Rmus are residents of and

registered to vote in Alachua County. ECF No. 30, at ¶ 2; ECF No. 29, at ¶ 2;

ECF No. 32, at ¶ 2; ECF No. 31, at ¶ 2. Plaintiff Boatner is currently registered

to vote in Volusia County but intends to change his registration this fall to

Alachua County, where he spends the academic year. ECF No. 26, at ¶ 2.

Plaintiff Adams is a resident of and registered voter in Leon County. ECF No.

25, at ¶ 2.

      Defendant is Florida’s Secretary of State. Under Florida law, the

Secretary of State is the “chief election officer.” Fla. Stat. § 97.012. He is

required to “[o]btain and maintain uniformity in the interpretation and

implementation of the election laws.” Fla. Stat. § 97.012(1). He provides

“written direction and opinions to the supervisors of elections on the

performance of their official duties.” Fla. Stat. § 97.012(16). The supervisors of

elections treat Defendant’s opinions as “authoritative” and follow them “absent

contrary directive.” ECF No. 33, at ¶ 16.

      All individual Plaintiffs assert various burdens to their own and their

peers’ voting rights because of Defendant’s Opinion. For instance, Mary

“Jaime” Roy does not own a car and is dependent on Gainesville’s public



                                        7
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 8 of 40



transportation system. ECF No. 32, at ¶ 5. 4 In one municipal election, they had

to travel on two buses from their home to their voting location, which took

between 40 and 60 minutes each way. Id. at ¶ 7.

       Megan Newsome has helped organize a one-day shuttle program

between campus and the polling place during the early voting period. ECF No.

30, at ¶ 8. Using the shuttle involved multiple waiting points for participants—

waiting for the shuttle to fill before leaving, waiting in line to vote, waiting for

all individuals to finish voting, and then driving back to campus. Id. Each trip

took approximately one hour. Id. Some students were unable to use the shuttle

because they did not have an hour to spare in their schedules on that day or

they sought the shuttle out after the shuttle program ended. Id. at ¶ 9. In other

elections, Ms. Newsome has asked other people for rides or hired Uber cars for

the round-trip from campus to the early voting location. Id. at ¶ 10. Amol

Jethwani, meanwhile, helped coordinate rides to voting locations, exerting

significant effort in identifying drivers, coordinating riders, and synchronizing

suitable times for the rides. ECF No. 29, at ¶¶ 9–10. All individual Plaintiffs

emphasize that an early voting site on-campus would lighten the burdens on

their voting rights. Id. at ¶ 20; ECF No. 25, at ¶ 17; ECF No. 26, at ¶ 23; ECF

No. 30, at ¶ 19; ECF No. 31, at ¶ 15; ECF No. 32, at ¶ 11.



4 Plaintiff Roy identifies as gender-queer and prefers the use of the gender-neutral pronoun
“they.” ECF No. 16, at ¶ 19.
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     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 9 of 40



                                         II

      Before reaching the merits of Plaintiffs’ motion, this Court addresses

some threshold issues.

      First, this Court rejects Defendant’s argument that the Pennhurst

doctrine precludes this Court from considering this case. Defendant conjures

Plaintiffs’ federal claims into state claims. See ECF No. 45, at 2 (“The Plaintiffs

have now put this Court in a position of interpreting state law and then

requiring state officials . . . to follow that federal interpretation of state law.”)

(emphases in original). This attempt to scurry out of federal court is a swing

and a miss.

      Plaintiffs have brought forth federal claims. “Since the plaintiff has

alleged a violation of the federal Constitution, Pennhurst does not apply.”

Brown v. Georgia Dep’t of Revenue, 881 F.2d 1018, 1023 (11th Cir. 1989). This

Court would be on thinner ice if Plaintiffs were asking this Court to compel

Defendant to abide by a federal judge’s interpretation of the Early Voting

Statute—and then this Court charged ahead and did so.

      Here, this Court is on rock-solid ground. Plaintiffs are explicit in their

federal claims. ECF No. 36, at 13 & 29; see also ECF No. 47, at 1–2. They

discuss state law only to the extent it has informed Defendant’s interests—or

lack thereof—in promulgating the Opinion. ECF No. 36, at 26–29. They do not



                                         9
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 10 of 40



seek this Court to interpret and enjoin Defendant on the basis of state law.

ECF No. 47, at 1.

      It is axiomatic that federal courts can review state or local laws alleged

to be unconstitutional. See, e.g., District of Columbia v. Heller, 554 U.S. 570,

636 (2008) (invalidating District of Columbia’s ban on possession of handguns

in the home as a violation of the Second Amendment); Loving v. Virginia, 388

U.S. 1, 12 (1967) (invalidating Virginia law restricting marriage based on

racial classifications as a violation of the Fourteenth Amendment). It is also

“beyond dispute that federal courts have jurisdiction over suits to enjoin state

officials from interfering with federal rights.” Shaw v. Delta Air Lines, Inc., 463

U.S. 85, 96 n.14 (1983) (citing Ex parte Young, 209 U.S. 123, 160–62 (1908));

see also Armstrong v. Exceptional Child Cent., 135 S.Ct. 1378, 1384 (2015)

(citing Osborn v. Bank of United States, 9 Wheat. 738, 838–39 (1824) and Ex

parte Young, 209 U.S. at 150–51) (“[W]e have long held that federal courts may

in some circumstances grant injunctive relief against state officers who are

violating, or planning to violate, federal law.”).

      That this Court is reviewing a state officer’s interpretation of state law—

an interpretation that has the effective force of a state law or policy—presents

an added wrinkle that is quickly ironed out. Simply stated, a federal court can

review a state official’s interpretation of—or gloss over—state law when it is

alleged to violate the United States Constitution. Otherwise, state legislatures

                                        10
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 11 of 40



could pass ambiguous statutes, giving cover for state officers to interpret vague

laws in manners contrary to the U.S. Constitution. Barred in federal courts,

challenges to these interpretations in state court could then fade under state

courts’ deference to state interpretations of state law. 5

       The best analogues are those federal invalidations of restrictive

interpretations of state election laws. In 2012, a federal judge examined Ohio

election statutes and the Ohio Secretary of State’s interpretations of those

statutes, which created different deadlines for military and non-military early

voters. Obama for Am. v. Husted, 888 F. Supp. 2d 897, 899–902 (S.D. Ohio

2012). The court enjoined the state from enforcing those laws as a violation of

the First and Fourteenth Amendments. Id. at 911. The Sixth Circuit affirmed.

Obama for Am. v. Husted, 697 F.3d 423, 437 (6th Cir. 2012). In affirming, the

Sixth Circuit described how the Secretary “construed” Ohio law “to apply the

more generous [early voting] deadline . . . to military and overseas voters.” Id.

at 427. This resulted in “particularly high” burdens on the impacted non-

military voters. Id. at 431 (internal quotation marks omitted).

       Similarly, a federal judge determined the Georgia Secretary of State’s

interpretation of a state statute violated federal law and enjoined her from

acting pursuant to her interpretation. Charles H. Wesley Educ. Found. v. Cox,


5 This Court is persuaded by Judge O’Neill’s characterization: “[I]n deciding a question of federal
law, I am not bound to follow a state agency’s interpretation of state law.” United States v.
Landsdowne Swim Club, 713 F. Supp. 785, 795 n.22 (E.D. Pa. 1989).
                                               11
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 12 of 40



324 F. Supp. 2d 1358, 1369 (N.D. Ga. 2004). The Georgia law detailed how “a

person may apply to register to vote by completing and mailing” an application

form. Id. at 1366. The Secretary, however, interpreted the law to require how

“‘a person’ may register by sending one application in an individual envelope”

to the Secretary. Id. (emphasis added). Plaintiff, a non-profit organization

engaging in voter-registration drives, submitted more than one application in

a bundle, which the Secretary rejected. Id. at 1360–61. The district court

construed the Secretary’s interpretation as a state policy, id. at 1366, and

determined the Secretary violated federal law in rejecting the bundled

registrations. Id. at 1368.

      This Court is reviewing Defendant’s Opinion. It has the effective force of

state law or official policy. While Defendant emphasizes the advisory nature of

his opinions and their limited reach, ECF No. 45, at 7, these characterizations

are unpersuasive. 6 According to the undisputed declarations of Ion Sancho,

who served as Leon County’s Supervisor of Election for 27 years, ECF No. 33,

at ¶ 2, the Florida State Association of Supervisors of Elections “and Florida’s

Supervisors of Election[s] generally treat written opinions of the Division . . .

as authoritative and follow such opinions, absent contrary directive by a court,

by statute, or by the Secretary of State.” Id. at ¶ 16. Supervisors of elections


6 In an accompanying Order Denying Defendant’s Motion to Dismiss, this Court determined
Defendant’s arguments regarding the limited scope of the Opinion to be disingenuous and
therefore unpersuasive. ECF No. 64, at 9–10.
                                          12
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 13 of 40



“give broad and substantial deference” to such opinions. ECF No. 53, at ¶ 6.

They do not act contrary to the opinions because, as a practical matter, “it takes

enough effort to administer elections without adding controversy”—such as

acting, or being perceived to act, inconsistent with the Secretary’s opinion. Id.

Even more, the Secretary of State sends copies of opinions to supervisors of

elections, which “do not contain qualifying language to suggest the advisory

opinions are narrowly limited in their application.” Id. at ¶ 4. Therefore, the

supervisors reasonably understand the state’s chief election officer’s opinions

as how he “interpret[s] and [is] likely to enforce Florida’s election laws.” Id.

That all supervisors of elections follow Defendant’s opinions is no surprise.

      Turning now to the Opinion’s scope and language, this Court first

examines what prompted it. A group of UF students approached the City

Commission and requested an early voting site be placed on campus. ECF No.

61, Ex. 1, at 1. The Gainesville City Attorney, writing to Defendant, explained

the Commission “desires to provide for early voting as allowed by state law.”

Id. She then asked: “Would the Reitz Union on the University of Florida

campus qualify as a government-owned community center or a convention

center for purposes of early voting under the recently amended Section

101.657, Florida Statutes?” Id. at 2.

      Defendant’s answer—the Opinion—was broader than the question. In

concluding that “[t]he terms ‘convention center’ and ‘government-owned

                                        13
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 14 of 40



community center’ cannot be construed so broadly as to include the Reitz Union

or any other college- or university-related facilities that were rejected by the

Legislature as additional early voting sites,” Defendant looked only to

unadopted legislation—legislation that referenced colleges or universities as a

whole and without any limiting language on the types of permissible or

impermissible on-campus facilities. ECF No. 61, at 2; see also ECF No. 24, Exs.

D, K, L & M (the unadopted amendment and unadopted proposed legislation).

As a result, Defendant’s rationale for rejecting the Reitz Union as an early

voting site was precisely because it “is a structure designed for, and affiliated

with, a specific educational institution.” ECF No. 61, at 2. 7 Put another way,

because “[i]t is part of the University of Florida,” the Reitz Union cannot be an

early voting site. Id. This reasoning means that any on-campus facility cannot

be an early voting site, including stadiums or permanent public library

facilities, which are permissible early voting sites under the Early Voting

Statute. Fla. Stat. § 101.657(1)(a). 8


7Defendant’s counsel ably and understandably attempted to narrow the Opinion’s scope as
merely interpretations of “convention center” and “government-owned community center.” ECF
No. 62, at 85–87. Doing so requires ignoring the whole Opinion, including Defendant’s rationale.

8 Defendant’s Opinion reflects the following logic. A questioner asks whether it is permissible to
do X. Answerer responds it is not permissible to do X because of Y reason. The Y reason can
reasonably be understood as answerer’s policy. Consider the following definitely hypothetical
situation. A law clerk asks this Court if he can have a stuffed pony in his office for a decorative
purpose, despite a federal regulation prohibiting “dogs or other animals on Federal property for
other than official purposes.” 41 C.F.R. § 102–74.425. This Court answers in the negative,
reasoning that prohibiting non-official animals on federal property extends to stuffed animals.
The dismayed law clerk would then reasonably conclude that no stuffed or live animals of any
kind—a stuffed lion, a stuffed tiger, or a live bear—would be permitted in his office. What is more,
                                                14
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 15 of 40



                                                III

       Plaintiffs move for preliminary injunction, seeking this Court to enjoin

Defendant from prohibiting county supervisors of elections from placing early

voting sites on college or university campuses and to require Defendant to issue

a directive to the supervisors of elections informing them of this Court’s order

and its effects. ECF No. 22, at 2.

       A district court can only grant a motion for preliminary injunction “if the

moving party shows that (1) it has a substantial likelihood of success on the

merits; (2) irreparable injury will be suffered unless the injunction issues; (3)

the threatened injury to the movant outweighs whatever damage the proposed

injunction may cause the opposing party; and (4) if issued, the injunction would

not be adverse to the public interest.” Siegel v. Lepore, 234 F.3d 1163, 1176

(11th Cir. 2000) (citing McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306

(11th Cir. 1998)). Although a “preliminary injunction is an extraordinary and

drastic remedy,” it nonetheless should be granted if “the movant ‘clearly carries

the burden of persuasion’ as to the four prerequisites.” United States v.

Jefferson Cty., 720 F.2d 1511, 1519 (11th Cir. 1983) (quoting Canal Auth. v.

Callaway, 489 F.2d 567, 573 (5th Cir. 1974)). 9


this Court’s authoritative answer to one law clerk would extend to other law clerks, whose plans
for office decorations would be unceremoniously scuttled.
9 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down prior
to October 1, 1981.
                                              15
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 16 of 40



                                       A

      Courts examine alleged violations of the First and Fourteenth

Amendment’s fundamental right to vote under a balancing test—the so-called

Anderson-Burdick test.

      Voting is the beating heart of democracy. It is a “fundamental political

right, because [it is] preservative of all rights.” Yick Wo v. Hopkins, 118 U.S.

356, 370 (1886). “It is beyond cavil that ‘voting is of the most fundamental

significance under our constitutional structure.’” Burdick v. Takushi, 504 U.S.

428, 433 (1992) (quoting Ill. Bd. of Elections v. Socialist Workers Party, 440

U.S. 173, 184 (1979)). Voting also requires extensive administration, planning,

and logistics. “[T]here must be a substantial regulation of elections if they are

to be fair and honest and if some sort of order, rather than chaos, is to

accompany the democratic processes.” Storer v. Brown, 415 U.S. 724, 730

(1974).

      With these interests in mind, courts examine states’ election laws and

regulations under what has been termed “a sliding-scale balancing analysis”

where “the scrutiny varies with the effect of the regulation at issue.” Crawford

v. Marion Cty. Election Bd., 553 U.S. 181, 210 (2008) (Scalia, J., concurring).

Courts “‘must first consider the character and magnitude of the asserted injury

to the rights protected by the First and Fourteenth Amendments that plaintiff

seeks to vindicate’ against ‘the precise interests put forward by the State as

                                       16
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 17 of 40



justifications for the burden imposed by its rule,’ taking into consideration ‘the

extent to which those interests make it necessary to burden the plaintiff’s

rights.’” Burdick, 504 U.S. at 434 (quoting Anderson v. Celebrezze, 460 U.S.

780, 788 (1983)). When rights are subjected to “‘severe’ restrictions, the

regulation must be ‘narrowly drawn to advance a state interest of compelling

importance.’” Id. (quoting Norman v. Reed, 502 U.S. 279, 289 (1992)). When

rights are subjected to “reasonable, nondiscriminatory restrictions” then “the

state’s important regulatory interests are generally sufficient to justify” the

restrictions. Anderson, 460 U.S. at 788. “However slight that burden may

appear . . . it must be justified by relevant and legitimate state interests

‘sufficiently weighty to justify the limitation.’” Crawford, 553 U.S. at 191

(controlling op.) (quoting Norman, 502 U.S. at 288–89).

      This Court assumes for the purpose of the following First and Fourteenth

Amendment      analysis    that   Defendant’s    Opinion    is   a   “reasonable,

nondiscriminatory restriction[].”Anderson, 460 U.S. at 788. As explained infra,

at 30–34, the Opinion is facially discriminatory on account of age. But even

after construing it under a more deferential “reasonable, nondiscriminatory”

lens, the Opinion falters under Anderson-Burdick because it disparately

imposes significant burdens on Plaintiffs’ rights weighted against imprecise,

insufficiently weighty government interests.



                                       17
      Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 18 of 40



     1. Defendant’s Opinion Imposes Significant Burdens on Plaintiffs.

       Contrary to Defendant’s characterizations, Plaintiffs’ burdens are more

than de minimis. Defendant’s Opinion imposes significant burdens on

Plaintiffs’ First and Fourteenth Amendment rights.

       At first blush, Plaintiffs’ burdens appear slight. Indeed, some courts have

characterized administrative burdens like waiting in line and commuting as

not severe. In a challenge to Indiana’s voter identification requirement, for

example, the Supreme Court explained “[f]or most voters” the process of

document-gathering, traveling to a state office, and obtaining a voter

identification “surely does not qualify as a substantial burden on the right to

vote, or even represent a significant increase over the usual burdens of voting.”

Crawford, 553 U.S. at 198 (controlling op.). Drawing from this language, a

federal court recently described a group of plaintiffs’ logistical burdens in early

voting at the only allowable early voting site in the county as “nonsevere,

nonsubstantial, or slight.” Common Cause Ind. v. Marion Cty. Election Bd.,

2018 WL 1940300, at *12 (S.D. Ind. Apr. 25, 2018). 10 And so courts have

acknowledged there are differences between “disparate inconveniences that

voters face when voting to the denial or abridgement of the right to vote.” Lee



10The district court respectfully made this characterization “without intending any denigration”
to the plaintiffs in that case. 2018 WL 1940300, at *12. There, Plaintiffs had to drive between 25
and 30 minutes to the early voting site or had to pay for public transportation. They also faced
parking difficulties and long lines. Id. at *5.
                                               18
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 19 of 40



v. Va. State Bd. of Elections, 843 F.3d 592, 601 (4th Cir. 2016). Voters are not

entitled to have “every polling place . . . be precisely located such that no group

had to spend more time traveling to vote than did any other.” Id. Conceivably,

then, a college student having to travel to vote early would perhaps not face a

substantial burden under Anderson-Burdick because of her commute.

      But those are not the facts here. Florida’s public college and university

students are categorically prohibited from on-campus early voting because of

Defendant’s Opinion. This is not a “nonsevere, nonsubstantial, or slight

burden.” Common Cause Ind., 2018 WL 1940300, at *12. This is not a mere

inconvenience.

      The Opinion lopsidedly impacts Florida’s youngest voters. Disparate

impact matters under Anderson-Burdick. A majority of the Crawford Court

determined that “[i]t ‘matters’ in the Anderson-Burdick analysis . . . whether

the effects of a facially neutral and nondiscriminatory law are unevenly

distributed across identifiable groups.” Common Cause of Ind., 2018 WL

1940300, at *13 (quoting Crawford, 553 U.S. at 216 (Souter, J., dissenting));

see also id. at n.18 (identifying six-justice Crawford majority agreeing that

disparate effects across identifiable groups matter).

      The Opinion has the effect of creating a secondary class of voters who

Defendant prohibits from even seeking early voting sites in dense, centralized

locations where they work, study, and, in many cases, live. This effect alone is

                                        19
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 20 of 40



constitutionally untenable. See Bush v. Gore, 531 U.S. 98, 104–05 (2000)

(“Having once granted the right to vote on equal terms, the State may not, by

later arbitrary and disparate treatment, value one person’s vote over that of

another.”); Dunn v. Blumstein, 405 U.S. 330, 336 (1972) (“[A] citizen has a

constitutionally protected right to participate in elections on an equal basis

with other citizens in the jurisdiction.”); and Harper v. Va. Bd. of Elections, 383

U.S. 663, 665 (1966) (“[I]t is enough to say that once the franchise is granted

to the electorate, lines may not be drawn which are inconsistent with the Equal

Protection Clause of the Fourteenth Amendment.”).

      Admittedly, the Early Voting Statute authorizes early voting as “a

convenience to the voter.” Fla. Stat. § 101.657. Constitutional problems

emerge, however, when conveniences are available for some people but

affirmatively blocked for others. “Once a unit of government has decided to

administer a benefit or impose a burden, it must do so rationally and equitably,

without offense to independent constitutional prohibitions.” Common Cause of

Ind., 2018 WL 1940300, at *11. Defendant does not do this.

      Defendant’s Opinion prohibits a discrete class of individuals—nearly

830,000 individuals who live and work on public college and university

communities, i.e. overwhelmingly young voters—from even the possibility of

an alternative, reasonable early voting location. Further, this class of voters is

the only class in Florida facing such a prohibition. Defendant’s Opinion

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     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 21 of 40



transforms these “mere inconvenience[s]” to an abridgment of the right to vote.

ECF No. 45, at 25.

       Dr. Rodden’s report scrutinizes in great detail the Opinion’s lopsided

effects on college students. See generally Rodden Rep. 11 He first examines the

travel times within communities with large universities using the census block

group as the basis for comparison. Dr. Rodden summarizes that in eight of

these communities there is “a pronounced difference in travel times between

dorm-dominated [and student-dominated] block groups” and the at-large

community. Id. at 64. Travel times to the nearest early voting site are

“significantly longer” from census block groups with large college-student

populations than those census block groups without such populations. Id. at 2.

He then compares those travel times to similar communities without large

universities. “[C]ommunities with dorm populations always have greater

inequalities in travel times across neighborhoods than their ‘non-dorm’

matches.” Id. at 73–74.

       These longer travel times are even more glaring when considered in

conjunction with three additional data-based conclusions. First, college

students’ residences are generally clustered on or near campus. Id. at 20, Fig.


11 This Court finds Dr. Rodden’s report to be credible. His methodology is sound. His data
originates from the most recent Five-Year American Community Surveys, the Florida
Department of State, Google Maps (for analyzing travel times), U.S. News and World Report (for
analyzing parking and car usage), and the National Center for Education Statistics. Rodden Rep.,
at 6–7.
                                              21
        Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 22 of 40



1 (showing concentration of Gainesville’s college population, including six

census block groups where more than 75 percent of residents live in dorms);

30, Fig. 5 (Tallahassee); 37, Fig. 9 (Miami); 44, Fix. 13 (Orlando); and 52, Fig.

17 (Tampa).

          Second, these areas contain some of the most densely populated areas of

a community. 12 Id. at 21, Fig. 2 (Gainesville’s population density); 31, Fig. 6

(Tallahassee); 38, Fig. 10 (Miami), 45, Fig. 14 (Orlando); and 53, Fig. 18

(Tampa).

          Third, individuals living in these dense campus-centered areas are

disproportionately without access to cars. 13 Id. at 22 (Gainesville’s car access);

32, Fig. 7 (Tallahassee); 39, Fig. 11 (Miami); 46, Fig. 15 (Orlando); and 54, Fig.

19 (Tampa). Moreover, Dr. Rodden draws from credible data in explaining that

commuting by biking is “quite rare in Florida,” accounting for between one and

five percent of all commutes—not to mention the relatively high levels of

bicycle injuries and deaths located near Florida’s university campuses that

may dissuade the average commuter. ECF No. 49, at 5.




12This Court is mindful that some dorm-dominated census block tracks may not be among the
most densely-populated area of a community but surrounding census block tracks, populated by
students living off-campus, remain among some of the most densely populated areas. Id. at 38,
Fig. 10 (Miami), and at 53, Fig. 18 (Tampa).

13   As best as Dr. Rodden could determine from available data from surveys and universities.
                                                22
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 23 of 40



      This Court is not persuaded by Defendant’s response to Dr. Rodden. In

particular, Defendant measures the walking and biking distance between the

nearest early voting site and UF from the very edge of campus. ECF No. 45, at

9–10 (showing a 24-minute one-way walk and an eight-minute one-way bike

ride to the early voting site according to Google Maps). The University of

Florida is like Hogwarts, which proscribes on-campus apparating—or

instantaneous teleportation. Students do not and cannot apparate within the

campus. Rather, UF students would begin their treks to the early voting site

in downtown Gainesville from various points across campus. For example, it is

a 2.5-mile distance from the center of campus at a dormitory like Hume Hall

to the early voting site. Rodden Rep. at 26.

      What is more, the Opinion’s effects fall on a class of voters particularly

invested in early voting for multiple reasons detailed in the record. Despite

Defendant’s Opinion and its effects, approximately 43 percent of Florida’s

college students voted early in 2016—more than the 18 percent of college

students who voted early nationally that year. Levine, et al. Rep., at 14. And

nearly half a million of the 1.2 million Floridians aged 18 to 29 (including non-

college students) in 2016 voted at an early voting site. Smith Rep., at 5–6.

      Plaintiffs’ experts offer credible explanations on why younger voters turn

toward early voting. Convenience is an unsurprising factor. See Levine, et al.

Rep., at 8 (“[T]he convenience of voting is a significant factor in an individual’s

                                        23
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 24 of 40



decision to vote, as it affects the cost side of the implicit cost/benefit calculation

that each prospective voter makes.”); Smith Rep., at 10 (“When it comes to

deciding whether to vote an absentee mail ballot, vote early in-person, or vote

on Election Day, younger registrants, like their older peers, often seek to

maximize convenience.”). Political scientists have long recognized voting’s cost-

benefit nature. Id. at 10–11 n.6; Levine, et al. Rep., at 8 n.6. Costs decrease

when voters face fewer restrictions to, or at, a polling location.

       Moreover, the alternatives to early voting are fraught with potential

pitfalls.   Younger    voters    casting      their   ballots   on   Election    Day

disproportionately face information costs—“Where is my local polling location?

What valid ID do I need to bring? . . . How do I get there?” Smith Report, at 13

(citing multiple academic articles studying the costs of voting). Younger voters

are more likely to have their provisional ballots rejected because they have

showed up at the wrong precinct, a not uncommon miscalculation for people

who move at least once a year from dorm-to-dorm, dorm-to-apartment, house-

to-dorm, apartment-to-apartment, Greek-house-to-house, among others. Id. at

14. In Florida, voters aged 18 to 21 had provisional ballots rejected “at a rate

more than four times higher than the rejection rate for provisional ballots cast

by voters between the ages of 45 to 64.” Id. (emphasis added); see also id. at 15

(displaying table of rejected provisional ballots by age group).



                                         24
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 25 of 40



      Additionally, on-campus voting locations on Election Day are crowded.

Dillon Boatner describes “very long lines to vote at the Reitz Student Union,

which wrapped through several hallways” on November 8, 2016. ECF No. 26,

at ¶ 5. Some “student voters had to wait in line for as long as an hour and a

half to cast their ballots.” Id. Ion Sancho describes similar scenes at Florida

State University, where “a disproportionately high number of voters (mostly

students)” appearing at on-campus voting sites had “changed residential

addresses and required time-consuming assistance to update their voter

registration,” thereby “lead[ing] to delays that slow the rate” for other people

to vote. ECF No. 33, at ¶ 8; see also ECF No. 53, at ¶ 8 (noting historically high

volume of voters on Election Day on campuses). In Alachua County, two of the

top three—and three of the top six—precincts with the largest number of

registered voters are located on UF’s campus. Smith Rep., at 17. On-campus

Election Day voting can be, in Defendant’s counsel’s words, “difficult” and “a

madhouse.” ECF No. 62, at 66.

      Mail-in ballot statistics are even starker. Vote-by-mail is convenient, but

“a voter 18 to 21 years old is roughly eight-times more likely to have her vote

by mail ballot rejected than an absentee voter over 65 years old.” Id. at 12

(emphasis added). Put another way, 8,522 absentee ballots from voters aged

18 to 29 were rejected out of 243,409 cast; only 5,796 absentee ballots from

voters aged 65 or more were rejected out of 1,229,279 cast. Id. at 13.

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      Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 26 of 40



       All the individual Plaintiffs live some distance away from their closest

early voting site. 14 So do many other people. What is different about Plaintiffs

is that Defendant’s Opinion categorically prevents them from an alternative

site on a dense, centralized location where they work, study, and, in many

cases, live. This prohibition creates significant burdens.

     2. Defendant Articulates No Precise Interests Sufficiently Weighty
        to Justify Plaintiffs’ Burdens on Their Right to Vote.

       Contrast the lopsided burdens that Defendant’s Opinion imposes on

Plaintiffs with Defendant’s interests in it.

       Generally, a state law or policy might claw back some expansions of its

access to the ballot, “arguably burden[ing] some segment of the voting

population’s right to vote.” Ohio Democratic Party v. Husted, 834 F.3d 620, 635

(6th Cir. 2016). In doing so, the “state’s important regulatory interests are

generally sufficient to justify reasonable, nondiscriminatory restrictions.”

Anderson, 460 U.S. at 788. Those interests must be “precise” to justify the

burden. Id. at 789. Restrictions that “may appear” to create even “slight”

burdens “must be justified by relevant and legitimate state interests



14 Alexander Adams lived one mile from the closest early voting site, though he expects his
dormitory assignment to change this upcoming semester. ECF No. 25, at ¶¶ 6 & 14. Other
individual Plaintiffs live even farther away from their closest early voting site: Dillon Boatner,
five miles, ECF No. 26, at ¶ 20; Amol Jethwani, 1.5 miles, ECF No. 29, at ¶ 18; Megan Newsome,
five miles, ECF No. 30, at ¶ 15; Anja Rmus, two miles, ECF No. 31, at ¶ 13. All individual
Plaintiffs explain that an on-campus early voting site will significantly ease the burdens on their
voting rights. ECF No. 25, at ¶ 16; ECF No. 26, at ¶ 21; ECF No. 29, at ¶ 17; ECF No. 30, at ¶ 16;
ECF No. 31, at ¶ 15; ECF No. 32, at ¶ 11.
                                               26
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 27 of 40



‘sufficiently weighty to justify the limitation.’” Crawford, 553 U.S. at 191

(controlling op.) (quoting Norman, 502 U.S. at 288–89).

       Here, Defendant fails to articulate “sufficiently weighty,” id. or

“important regulatory interests,” Anderson, 460 U.S. at at 788, with any

“precis[ion]” to explain why it is “necessary to burden the plaintiff’s rights.” Id.

at 789. On the contrary, one must squint hard to identify Defendant’s

“important regulatory” and “precise” interests. Id. at 788–89.

       As best as this Court determined during the preliminary injunction

hearing, Defendant articulates three interests in the Opinion: following state

law, preventing parking issues, and avoiding on-campus disruption that an

early-voting campus site could create. ECF No. 62, at 65–66.

       Defendant’s claimed interest in following state law fails because the

Early Voting Statute does not prohibit early voting sites on college campuses. 15

State law authorizes a supervisor of election to designate “any city hall,

permanent public library facility, fairground, civic center, courthouse, county

commission building, stadium, convention center, government-owned senior

center, or government-owned community center as early voting sites.” Fla.

Stat. § 101.657(1)(a). Defendant interprets this statute based on amendments



15 At the risk of beating a dead horse, this Court emphasizes that it is not ordering Defendant to
comply with a federal court’s interpretation of state law. Pennhurst, 465 U.S. at 106. This Court
is examining the Early Voting Statute for the limited purpose of evaluating Defendant’s claimed
interests in following state law, an evaluation Anderson-Burdick necessitates.
                                               27
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 28 of 40



that were not adopted and bills not passed—that is, language not appearing

anywhere near the statute. Justice Scalia is more than instructive here. “It is

always perilous to derive the meaning of an adopted provision from another

provision deleted in the drafting process.” Heller, 554 U.S. at 590.

      As written, the law does not require supervisors of elections to designate

such sites. Nor does the law prohibit supervisors of elections from designating

such sites. The law grants discretion to supervisors of elections. The Opinion

is a broad answer to a narrow question, effectively inserting a prohibition into

an otherwise flexible authorizing statute. See supra, at 13–14. Slapping a gloss

over a statute is not the same as following the statute.

      Defendant also claims an interest in alleviating parking difficulties that

an on-campus early voting site might create. ECF No. 62, at 63 & 65–66; ECF

No. 45, at 14 & 24. This interest is neither precise nor sufficiently weighty.

First, a local supervisor of elections is in a better position to evaluate the

parking situation at potential sites than Defendant. For example, Ion Sancho

states that an early voting site at FSU “would help alleviate the

disproportionate burdens on voting, including transportation issues and

administrative delay.” ECF No. 33, at ¶ 10. He also explains how the “large,

concentrated population of voting-age individuals” come to campus daily

anyway despite “the scarcity of parking.” Id. at ¶ 11. Second, common sense

suggests that adding an additional early voting site would alleviate long lines

                                       28
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 29 of 40



and parking problems at other early voting locations. See, e.g., ECF No. 29, at

¶ 12 (describing how closest early voting site to UF campus had “influx of

students using the various shuttle programs” which “created congestion and

resulted in longer wait times”).

      The above rationales extend to Defendant’s third claimed interest in the

Opinion—avoiding on-campus disruption. A supervisor of elections is the more

appropriate authority to evaluate the potential disruption an early voting site

would create. Moreover, an early voting site would alleviate some of the

disruption that exists on Election Day voting sites on campuses. See supra, at

25 (describing long lines and crowds that accompany on-campus voting sites

on Election Day).

      Defendant’s lack of precise interests is all the more glaring when

weighted against Plaintiffs’ significant burdens. While a significant burden

could be weighed against, and justified by, precise, sufficiently weighty

government interests, Defendant has failed to articulate precise and

sufficiently weighty interests in the Opinion to justify Plaintiffs’ significant

burdens on their voting rights. Plaintiffs have established a substantial

likelihood of success on the merits of their First and Fourteenth Amendment

claims.




                                      29
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 30 of 40



                                       B

      Defendant’s Opinion also violates Plaintiffs’ Twenty-Sixth Amendment

rights because it is intentionally discriminatory on account of age. The Twenty-

Sixth Amendment states that “[t]he right of citizens of the United States, who

are eighteen years of age or older, to vote, shall not be denied or abridged by

the United States or any state on account of age.” U.S. CONST. amend. XXVI.

      Courts    considering     Twenty-Sixth      Amendment      claims    have

acknowledged the “dearth of guidance on what test applies.” N.C. State

Conference of the NAACP v. McCrory, 182 F. Supp. 3d 320, 522 (M.D.N.C.

2016), rev’d on other grounds, 831 F.3d 204 (4th Cir. 2016); see also Nashville

Student Org. Comm. v. Hargett, 155 F. Supp. 3d 749, 757 (M.D. Tenn. 2015)

(“[T]here is no controlling caselaw . . . regarding the proper interpretation of

the Twenty-Sixth Amendment or the standard to be used in deciding claims

for Twenty-Sixth Amendment violations based on an alleged abridgment or

denial of the right to vote.”). A consensus has been emerging, however, as

recent courts have applied the Arlington Heights standard for Twenty-Sixth

Amendment claims. One Wis. Inst., Inc. v. Thomsen, 198 F. Supp. 3d 896, 926

(W.D. Wis. 2016); Lee v. Va. State Bd. of Elections, 188 F. Supp. 3d 577, 609

(E.D. Va. 2016), aff’d, Lee, 843 F.3d 592 (4th Cir. 2016).

      This Court agrees with the Thomsen court’s reasoning on applying this

standard. The Amendment’s text is “patterned on the Fifteenth Amendment

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     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 31 of 40



. . . suggest[ing] that Arlington Heights provides the appropriate framework”

and Anderson-Burdick likely is unfitting because applying it would indicate

the Twenty-Sixth Amendment “‘contributes no added protection to that

already offered by the Fourteenth Amendment.’” Thomsen, 198 F. Supp. 3d at

926 (quoting Walgren v. Bd. of Selectmen of Amherst, 519 F.2d 1364, 1367 (1st

Cir. 1975)). 16 Accordingly, this Court applies the Arlington Heights framework

to Plaintiffs’ Twenty-Sixth Amendment claim.

       “The impact of the official action—whether it ‘bears more heavily on one

[age-group] than another,’ . . . may provide an important starting point.” Vill.

of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977)

(quoting Washington v. Davis, 426 U.S. 229, 242 (1976). “Sometimes a clear

pattern, unexplainable on grounds other than [age] emerges from the effect of

the state action even when the governing legislation appears neutral on its

face.” Id. Absent a “stark” pattern, “impact alone is not determinative.” Id.

       Simply     put,    Defendant’s      Opinion      reveals    a   stark    pattern     of

discrimination. It is unexplainable on grounds other than age because it bears

so heavily on younger voters than all other voters. Defendant’s stated interests

for the Opinion (following state law, avoiding parking issues, and minimizing




16The parties concede that Arlington Heights is an acceptable framework for Plaintiffs’ Twenty-
Sixth Amendment claim. ECF No. 36, at 33 n.15; ECF No. 62, at 67.


                                              31
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 32 of 40



on-campus disruption) reek of pretext. 17 Cf. Veasey v. Abbot, 830 F.3d 216, 235–

36 (5th Cir. 2016) (discussing pretextual characteristics in racially

discriminatory election law). While the Opinion does not identify college

students by name, its target population is unambiguous and its effects are

lopsided. The Opinion is intentionally and facially discriminatory.

       This Court does not lightly compare contemporary laws and policies to

more shameful eras of American history. But addressing intentional

discrimination does not require kid gloves. In 1910, Oklahoma amended its

constitution to create exemptions to the state’s literacy test; namely, anyone or

his descendant who could vote on January 1, 1866—the so-called grandfather

clause—“or who was at that time resided in some foreign nation” need not take

a literacy test. Guinn v. United States, 238 U.S. 347, 356 (1915). January 1,

1866 was no coincidence—the overwhelming majority of African-Americans

could not vote prior to that day because of, among other reasons, slavery and

the absence of the Fifteenth Amendment’s protections. While the Court

acknowledged that Oklahoma’s amendment “contains no express words”

targeting African-Americans, “the standard itself inherently brings that result



17This Twenty-Sixth Amendment analysis differs from this Court’s Anderson-Burdick analysis,
which requires a balancing of burdens and governmental interests. In balancing Plaintiffs’
burdens and Defendant’s interests, this Court presumed the Opinion was nondiscriminatory.
Supra, at 17. This Court concluded that Defendant’s interests were, to understate, weak, meaning
Plaintiffs’ significant burdens outweighed Defendant’s interests in the Opinion. In the Twenty-
Sixth Amendment context, this Court is more willing to call out a pretextual rationale—or “a
banana a banana,” in Plaintiffs’ counsel’s words. ECF No. 62, at 72.
                                              32
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 33 of 40



into existence.” Id. at 364. Despite “seek[ing] in vain for any ground which

would sustain any other interpretation” of the amendment, the Court

unanimously determined the provision violated the Fifteenth Amendment

because it intentionally targeted a discrete group seeking the vote. Id.

      So too here. This Court has “s[ought] in vain for any ground which would

sustain” a non-discriminatory interpretation of the Opinion both under the

flexible Anderson-Burdick standard and now the Twenty-Sixth Amendment.

Id. But the Opinion’s scope and effects are clear abridgements of voting rights

justified by, at best, weak interests. While Oklahoma in 1910 abridged voting

rights by choosing an invidious date to exclude African-Americans from voting,

Florida in 2014 limited places to stymie young voters from early voting.

      Even more, “[t]he historical background of the decision” is another source

to reveal “invidious purposes.” Arlington Heights, 429 U.S. at 267. In 2013,

Florida’s leading policymakers were expanding ballot access across the board.

Defendant even recommended expanding early voting sites and giving

supervisors of elections more flexibility. ECF No. 24, Ex. C, at 5 & 7–8.

Defendant’s Opinion stands as a shady contraction in a context of expansion

and easier access—the only contraction, in fact.

      To Defendant’s credit, there is no evidence that the “specific sequence of

events leading up to the challenged decision” was problematic. Arlington

Heights, 429 U.S. at 267. Nor did Defendant “[d]epart[] from the normal

                                      33
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 34 of 40



procedural sequence” in issuing the Opinion. Id. But following procedural

formalities to intentionally discriminate on account of age does not

automatically attach constitutionality to a law or policy.

       If a unanimous Senate, near-unanimous House of Representatives, and

38 ratifying states intended the Twenty-Sixth Amendment to have any teeth,

then the Amendment must protect those blatant and “unnecessary burdens

and barriers” on young voters’ rights. Worden v. Mercer Cty. Bd. of Elections,

61 N.J. 325, 345 (1972). 18 This Court can conceive of fewer ham-handed efforts

to abridge the youth vote than Defendant’s affirmative prohibition of on-

campus early voting.

       Because the Opinion is unexplainable on grounds other than age,

Plaintiffs have established a substantial likelihood of success on the merits of

their Twenty-Sixth Amendment claim.




18The House of Representatives voted in favor of the Amendment 401-19. 117 CONG. REC. H7569
(Mar. 23, 1971). The Senate voted in favor of the Amendment 94-0. 117 CONG. REC. S5830 (Mar.
10, 1971). Soon afterwards, three-fourths of the States ratified the Amendment. 36 Fed. Reg.
12725 (July 7, 1971). Additional states have ratified the Amendment since its passage. Florida
has not.


                                             34
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 35 of 40



                                            III

       Plaintiffs must also demonstrate they will suffer irreparable injury

without a preliminary injunction. Siegel, 234 F.3d at 1176 (citing McDonald’s

Corp., 147 F.3d at 1306). They have. 19

       “An injury is ‘irreparable’ only if it cannot be undone through monetary

remedies.” Cunningham v. Adams, 808 F.2d 815, 821 (11th Cir. 1987) (quoting

Cate v. Oldham, 707 F.2d 1176, 1189 (11th Cir. 1983). “The possibility that

adequate compensatory or other corrective relief will be available at a later

date, in the ordinary course of litigation, weighs heavily against a claim of

irreparable harm.” Sampson v. Murray, 415 U.S. 61, 90 (1974). Accordingly,

irreparable injury is presumed when “[a] restriction on the fundamental right

to vote” is at issue. Obama for Am., 697 F.3d at 436. Once the election comes

and goes, “there can be no do-over and no redress.” League of Women Voters of

N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014). As this Court

explained in another elections-related preliminary injunction order, “[t]his

isn’t golf: there are no mulligans.” Fla. Democratic Party v. Scott, 215 F. Supp.

3d 1250, 1258 (N.D. Fla. 2016).

       Here, Plaintiffs have all articulated irreparable injury to their voting

rights that will follow a denial of their motion for preliminary injunction.


19This Court addresses Defendant’s redressability-related arguments—that granting Plaintiffs’
motion will not guarantee Plaintiffs an on-campus early voting site—in its Order Denying
Defendant’s Motion to Dismiss. ECF No. 64, at 7-12.
                                             35
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 36 of 40



Individual Plaintiffs will have to travel longer and farther to vote early, if they

are even able to. See supra at 26, n.14. Some will need to take multiple buses

or an Uber to cast a ballot. ECF No. 30, at ¶ 10; ECF No. 32, at ¶ 7. The

organizational Plaintiffs’ will suffer irreparable injury because their members

will have to expend more resources and time to assist voters in accessing off-

campus early voting. ECF No. 27, at ¶ 14; ECF No. 28, at ¶ 18. Those members

will also be injured in having an on-campus early voting site affirmatively

prohibited by Defendant’s Opinion. ECF No. 27, at ¶ 15; ECF No. 38, at ¶ 18.

      Considering the constitutional injuries and the one-shot nature of

elections, Plaintiffs have established irreparable injury would follow a denial

of their motion.

                                        IV

      This Court next considers whether “the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing

party.” Siegel, 234 F.3d at 1176. This is not a close call. On the one hand, the

threatened injury is the violation of Plaintiffs’ First, Fourteenth, and Twenty-

Sixth Amendment rights—and the First, Fourteenth, and Twenty-Sixth

Amendment rights of nearly 830,000 public college and university students

across Florida.

      On the other hand, Defendant’s far-reaching, discriminatory Opinion

would no longer have any effect. That is hardly inequitable “damage” to

                                        36
     Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 37 of 40



Defendant. Id. After all, the Opinion’s invalidation only restores supervisors’

of elections discretion in designating early voting sites according to the Early

Voting Statute. While Florida’s 67 election supervisors must finalize a list of

all early voting sites by July 29, 2018 for the August primary, Florida’s

supervisors could also not do so. Defendant could very well be correct that

“adding one more task . . . could have a disruptive, cascading effect on [the

supervisors’] well-planned timeline[s]” and they could decline to designate any

on-campus early voting sites. ECF No. 45, at 27. They might agree that adding

additional early voting sites “would inject unnecessary confusion and

uncertainty.” Id. at 3. But the benefits of barring supervisors from having that

choice pales in comparison to the voting rights of 830,000 young voters. 20

       Finally, an injunction is unquestionably in the public interest. “The

vindication of constitutional rights . . . serve[s] the public interest almost by

definition.” League of Women Voters of Fla. v. Browning, 863 F. Supp. 2d 1155,

1167 (N.D. Fla. 2012). Quite simply, allowing for easier and more accessible

voting for all segments of society serves the public interest. “Cementing

unconstitutional obstacles to ‘that right strike at the heart of representative




20Defendant also makes an argument that Plaintiffs’ lawsuit is too late because the Opinion is
more than four years old. ECF No. 45, at 26–28. Individual Plaintiffs persuasively point out that
none of them could vote in 2014; in fact, Alexander Adams is voting for the first time in 2018.
ECF No. 47, at 11. It is up to the supervisors of elections to determine if it is “too late” to add on-
campus early voting site for the 2018 elections. ECF No. 45, at 28.
                                                 37
    Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 38 of 40



government.’” Fla. Democratic Party, 215 F. Supp. 3d at 1258 (quoting

Reynolds v. Sims, 377 U.S. 533, 555 (1964)).

      Voter turnout in the United States is at less than impressive levels.

Younger voters turn out at noticeably lower rates than older voters—53

percent for those Florida voters aged 18 to 29 versus 70 percent for all

registered Florida voters in 2016. Smith Rep., at 7–8. Throwing up roadblocks

in front of younger voters does not remotely serve the public interest. Abridging

voting rights never does.

                                       V

      This Court is not the Early-Voting Czar. Except for the invalidation of

Defendant’s Opinion, nothing must change because of this Order. This Court

does not order the supervisors of elections to designate a single early voting

site on a single college campus; rather, this Order removes the handcuffs from

Florida’s supervisors of elections and restores their discretion in setting early

voting sites.

      Accordingly,

      IT IS ORDERED:

      1. Plaintiffs’ Motion for Preliminary Injunction, ECF No. 22, is

         GRANTED.

      2. The Secretary of State is preliminary enjoined from implementing or

         enforcing the Early Voting Statute in any way prohibiting or

                                       38
Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 39 of 40



    discouraging the use of any city hall, permanent public library

    facility, fairground, civic center, courthouse, county commission

    building, stadium, convention center, government-owned senior

    center, or government-owned community center for early voting

    because that facility is related to, designed for, affiliated with, or part

    of a college or university, including through the use of the Secretary

    of State’s powers to obtain and maintain uniformity in the

    interpretation and implementation of Florida’s election laws;

 3. The Secretary of State shall issue a directive to the supervisors of

    elections advising them that the interpretation of the Early Voting

    Statute that excludes from consideration as early voting sites any

    facilities related to, designed for, affiliated with, or part of a college or

    university, is unconstitutional and, accordingly, the supervisors of

    elections retain discretion under the Early Voting Statute to place

    early voting sites at any city hall, permanent public library facility,

    fairground, civic center, courthouse, county commission building,

    stadium, convention center, government-owned senior center, or

    government-owned community center, including any such site as may

    be related to, designed for, affiliated with, or part of a college or

    university. The Secretary shall include in the directive a copy of this

    Order.

                                    39
Case 4:18-cv-00251-MW-CAS Document 65 Filed 07/24/18 Page 40 of 40



 4. The Secretary of State shall file in this Court’s electronic case filing

    system a Notice of Compliance with the above paragraphs on or before

    Friday, July 27, 2018.

 5. The preliminary injunction set out above will take effect upon the

    posting of security in the amount of $500 for costs and damages

    sustained by a party found to have been wrongfully enjoined.

    Plaintiffs will immediately notify Defendant when the bond has been

    posted and thereafter file proof of such notice in this Court’s electronic

    case files systems.

 SO ORDERED on July 24, 2018.


                                s/Mark E. Walker           ____
                                Chief United States District Judge




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